         Case 4:21-cv-05095-SAB                                   ECF No. 1-4                   filed 06/21/21                  PageID.60 Page 1 of 7




!""#$%&'&"%&(#)*'*+,+&*
UCC FINANCING STATEMENT
;+--+,##<&$0=>)0<+&$#2?8@6A#367#B3CD:#)(=%;>--E
FOLLOW  INSTRUCTIONS (front and back) CAREFULLY
("#&(/%#F#GH+&%#+;#)+&0()0#(0#;<-%=#I@JAK@63LM
A. NAME & PHONE OF CONTACT AT FILER [optional]                                                               Date  of Filing
                                                                                                             Date of  Filing :: 09/22/2009
                                                                                                                                09/22/2009
  CT
  CT Lien Solutions
     Lien Solutions                                                                                          Time  of Filing
                                                                                                             Time of  Filing :: 10:18:00
                                                                                                                                10:18:00 AM
                                                                                                                                         AM
!"#$%&'#()*&+,-%'./%&0#0+1###2&345#367#(778599:
B. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                File
                                                                                                             File Number
                                                                                                                  Number :: 2009-265-7986-8
                                                                                                                                2009-265-7986-8
                                                                                                             Lapse
                                                                                                             Lapse Date
                                                                                                                    Date :: 09/22/2024
                                                                                                                               09/22/2024
          CT Lien Solutions
          CT Lien Solutions
          P.O.
          P.O. Box
               Box 29071
                   29071
          Glendale,
          Glendale, CA
                    CA 91209-9071
                       91209-9071
          USA
          USA

        L
                                                                                                                !"#$%&'(#$)*%+#$,)$-'.$-,/,01$'--,+#$2)#$'0/3
                                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
!"#$%&'()*+#
1.            %N()0#;>--#-%.(-#&(/%
   DEBTOR'S EXACT                     ! "#$%&' onlyone
                      FULL LEGAL NAME -insert  (#)* (#% debtor
                                                        +%,'(& name
                                                               #-.% (1a
                                                                    /0- or
                                                                        (& 16)
                                                                           0,1 -do
                                                                               ! +( not
                                                                                    #(' abbreviate
                                                                                        -,,&%2"-'% orcombine
                                                                                                   (& 3(.,"#% names
                                                                                                              #-.%$
    0-M ORGANIZATION'S
    1a. BD;987X947B8W< NAME
                       89>=

     Easterday
     Easterdav Farms
!" I0,M
OR
               Farms Produce,
                     Produce. Co.
                              Co.
        78H7G7HC9FW< LAST
     b. INDIVIDUAL'S F9<4 NAME
                          89>=                                                     67D<4 NAME
                                                                                   FIRST 89>=                                       >7HHF= NAME
                                                                                                                                    MIDDLE 89>=                            <C667V
                                                                                                                                                                           SUFFIX


03M MAILING
1c. >97F78; ADDRESS
            9HHD=<<                                                                 :74E
                                                                                    CITY                                            <494=
                                                                                                                                    STATE      UB<49F CODE
                                                                                                                                               POSTAL :BH=                 :BC84DE
                                                                                                                                                                           COUNTRY

1427 N
1427   1st Avenue
     N 1st Avenue                                                                   Pasco
                                                                                    Pasco                                            WA
                                                                                                                                     WA        99301
                                                                                                                                               99301                        USA
                                                                                                                                                                            USA
0+M SEE
1d.     INSTRUCTIONS
    !""#$%!&'()&$*%!           9HHWF INFO
                               ADM_  786B RE
                                          D= lie.
                                              0%M TYPE
                                                  4EU= OF
                                                       B6 ORGANIZATION
                                                          BD;987X947B8             0?M YCD7<H7:47B8
                                                                                   1f.              B6 ORGANIZATION
                                                                                       JURISDICTION OF BD;987X947B8                 0AM ORGANIZATIONAL
                                                                                                                                    1g. BD;987X947B89F ID
                                                                                                                                                       7H #,
                                                                                                                                                          [\ if
                                                                                                                                                             "? any
                                                                                                                                                                -#*
                               BD;987X947B8
                               ORGANIZATION
                               H=O4BD
                               DEBTOR        I Corporation
                                               Corporation                          WA
                                                                                    WA                                              I 601672960
                                                                                                                                      601672960                                  I   8B8=
                                                                                                                                                                                     NONE
S"#(''<0<+&(-#
2.             $%&'()*+#%N()0#;>--#-%.(-#&(/%#
   ADDITIONAL DEBTORS       EXACT FULL LEGAL NAME -! insert
                                                     "#$%&' only
                                                            (#)* one
                                                                 (#% debtor
                                                                     +%,'(& name
                                                                            #-.% (2a
                                                                                 /Q- or
                                                                                     (& 2b)
                                                                                        Q,1 -! do
                                                                                               +( not
                                                                                                  #(' abbreviate
                                                                                                      -,,&%2"-'% or
                                                                                                                 (& combine
                                                                                                                    3(.,"#% names
                                                                                                                            #-.%$
    Q-M ORGANIZATION'S
    2a. BD;987X947B8W< NAME
                       89>=


!"
OR                                                                                                                                  >7HHF= NAME
                                                                                                                                           89>=                            <C667V
     Q,M INDIVIDUAL'S
     2b. 78H7G7HC9FW< LAST
                      F9<4 NAME
                           89>=                                                     67D<4 NAME
                                                                                    FIRST 89>=                                      MIDDLE                                 SUFFIX


Q3M MAILING
2c. >97F78; ADDRESS
            9HHD=<<                                                                 :74E
                                                                                    CITY                                            <494=
                                                                                                                                    STATE      UB<49F CODE
                                                                                                                                               POSTAL :BH=                 :BC84DE
                                                                                                                                                                           COUNTRY


Q+M SEE
2d.     INSTRUCTIONS
    !""#$%!&'()&$*%!           9HHWF INFO
                               ADD'L 786B RE
                                          D= 12e.
                                               Q%M TYPE
                                                   4EU= OF
                                                        B6 ORGANIZATION
                                                           BD;987X947B8             Q?M JURISDICTION
                                                                                    2f. YCD7<H7:47B8 OF
                                                                                                     B6 ORGANIZATION
                                                                                                        BD;987X947B8                QAM ORGANIZATIONAL
                                                                                                                                    2g. BD;987X947B89F ID
                                                                                                                                                       7H #,
                                                                                                                                                          [\ if
                                                                                                                                                             "? any
                                                                                                                                                                -#*
                               BD;987X947B8
                               ORGANIZATION
                               H=O4BD
                               DEBTOR        I                                                                                                                                  I    8B8=
                                                                                                                                                                                     NONE
3. +%,-)%$#./)'0*+
T"#SECURED    PARTY'S#&(/%#  /(& NAME
                        NAME (or 89>= of
                                      (? TOTAL
                                         4B49F 9<<7;8== (? ASSIGNORS/P)-
                                               ASSIGNEE of 9<<7;8BD <NU1 ! insert
                                                                           "#$%&' onlyone
                                                                                  (#)* (#% secured
                                                                                           $%3P&%+ party
                                                                                                   J-&'* name
                                                                                                         #-.% (3a
                                                                                                              /Z- or3b)
                                                                                                                  (& Z,1
    Z-M ORGANIZATIONS
    3a. BD;987X947B8W< NAME
                       89>=


!"
OR
     Rabo Agrifinance, Inc.
     Rabo Agrifinance. Inc.
     Z,M INDIVIDUAL'S
     3b. 78H7G7HC9FW< LAST
                      F9<4 NAME
                           89>=                                                    67D<4 NAME
                                                                                   FIRST 89>=                                       >7HHF= NAME
                                                                                                                                    MIDDLE 89>=                            <C667V
                                                                                                                                                                           SUFFIX


Z3M MAILING
3c. >97F78; ADDRESS
            9HHD=<<                                                                 :74E
                                                                                    CITY                                            <494=
                                                                                                                                    STATE     UB<49F CODE
                                                                                                                                              POSTAL :BH=                  :BC84DE
                                                                                                                                                                           COUNTRY

10100 Trinity
10100 Trinity Pkwy., Suite 400
              Pkwv.. Suite 400                                                      Stockton
                                                                                    Stockton                                         CA
                                                                                                                                     CA        95219
                                                                                                                                               95219                        USA
                                                                                                                                                                            USA
O" This
4. 45"$ FINANCING
        67898:78; STATEMENT
                  <494=>=84 covers
                            3(2%&$ the
                                   '5% following 3())-'%&-)1
                                       ?())(@"#A collateral:


 All of
 All of the
        the following
            following described
                       described property
                                  property now  owned or
                                           now owned    or hereafter    acquired by
                                                           hereafter acquired        the Debtor
                                                                                  by the         (collectively,
                                                                                         Debtor (collectively,
 the "Collateral"):
 the  "Collateral"):
 (a) Accounts,
 (a) Accounts, contract
                 contract rights, documents, documents
                          rights, documents,  documents ofof title,
                                                              title, payment
                                                                     payment intangibles,
                                                                              intangibles, investment
                                                                                            investment
 property,   chattel paper,
 property, chattel   paper, instruments  and deposit
                            instruments and  deposit accounts.
                                                      accounts.
 (b) Inventory.
 (b) Inventory.
 (c) Equipment.
 (c) Equipment.
 (d) Fixtures.
 (d) Fixtures.
 (e) Farm
 (e) Farm products.
            products.
 (f) General
 (f) General intangibles,
              intangibles, including,
                           including, but
                                      but not limited to,
                                          not limited to, all
                                                          all Intellectual
                                                               Intellectual Property   (defined
                                                                            Property (defined




P" ALTERNATIVE
5. 9F4=D8947G= DESIGNATION
Q" El This
6.
                  H=<7;8947B8 [if
      45"$ FINANCING
           67898:78; STATEMENT
                      <494=>=84 is  "$ to
                                       '( be
                                              n
                               I"? applicable]:
                                   -JJ)"3-,)%KL
                                          ,% filed
                                                      F=<<==NF=<<BD
                                                      LESSEE/LESSOR
                                             ?")%+ [for
                                                   I?(& record]
                                                        &%3(&+K (or
                                                                       n
                                                                /(& recorded)
                                                                    &%3(&+%+1 in
                                                                              "# the
                                                                                    :B8<7;8==N:B8<7;8BD
                                                                                    CONSIGNEE/CONSIGNOR
                                                                                 '5% REAL
                                                                                     D=9F
                                                                                                        n
                                                                                                   :5%3R '(
                                                                                                R" Check
                                                                                                7.          D=SC=<4 SEARCH
                                                                                                         to REQUEST
                                                                                                                              n
                                                                                                                  O97F==NO97FBD
                                                                                                                  BAILEE/BAILOR
                                                                                                                    <=9D:T REPORT(S)
                                                                                                                                      <=FF=DNOCE=D
                                                                                                                                      SELLER/BUYER
                                                                                                                             D=UBD4/<1 on
                                                                                                                                        (# Debtor(s)
                                                                                                                                            H%,'(&/$1
                                                                                                                                                     n       9;M LIEN
                                                                                                                                                             AG. F7=8
                                                                                                                                                                     ❑
                                                                                                                                                                      n   8B8!C:: FILING
                                                                                                                                                                          NON-UCC
                                                                                                                                                                                ❑
                                                                                                                                                                                   67F78;

      rif
      applicablei
      =<494= D=:BDH<M
   LI RECORDS.
      ESTATE
      FEE1
      (optionall
      fADDITIONAL
      Addendum
      Attach               9''-35 9++%#+P.                                      I"? -JJ)"3-,)%K    I9HH747B89F 6==K               I(J'"(#-)K          Lj 9))
                                                                                                                                                         All H%,'(&$
                                                                                                                                                             Debtors   H%,'(&
                                                                                                                                                                       Debtor 0
                                                                                                                                                                              1   H%,'(&
                                                                                                                                                                                  Debtor Q
                                                                                                                                                                                         2
U" OPTIONAL
8. BU47B89F FILER
              67F=D REFERENCE
                    D=6=D=8:= DATA
                                H949

 WA-0-20244288-33313843-F-413058 Easterday
 WA-0-20244288-33313843-F-413058 Easterdav TN
                                           TN
!"#"$%& OFFICE
FILING  '!!"()& COPY
                ('*+ -, UCC
                        !"" FINANCING
                            #$%&%"$%' STATEMENT
                                      ()&)*+*%) (FORM
                                                ,#-.+ UCC1)
                                                      !""/0 (REV.
                                                            ,.*12 05/22/02)
                                                                  345665360

                                                                                PAGE 1 OF 2                                                                    2009-265-7986-8
                                                                                                                                                                         Exhibit D
                                                                                                                                                                       Page 1 of 7
                                                                                                                                                                       Page
  Case 4:21-cv-05095-SAB                     ECF No. 1-4       filed 06/21/21        PageID.61 Page 2 of 7


Continuation of section 4 collateral


4. This FINANCING STATEMENT covers the following collateral:


herein).
herein).
(g)  Accessions, attachments
(g) Accessions,   attachments and
                                and other
                                      other additions
                                            additions to
                                                      to the
                                                          the Collateral,  and all
                                                               Collateral, and all tools,
                                                                                   tools, parts  and equipment
                                                                                           parts and equipment used
                                                                                                                used
in connection
in  connection with    the Collateral.
                with the   Collateral.
(h) Substitutes
(h)               or replacements
     Substitutes or   replacements for
                                     for any
                                         any Collateral,  all proceeds,
                                              Collateral, all proceeds, products,   rents and
                                                                        products, rents    and profits of any
                                                                                               profits of any
Collateral,  all rights
Collateral, all  rights under   warranties and
                         under warranties    and insurance
                                                 insurance contracts
                                                              contracts covering
                                                                        covering the
                                                                                  the Collateral,  and any
                                                                                      Collateral, and   any causes
                                                                                                            causes of
                                                                                                                   of
action relating
action  relating to
                  to the
                     the Collateral.
                          Collateral.
(i)
(i) Books  and records
    Books and   records pertaining
                         pertaining toto any
                                         any Collateral,  including but
                                             Collateral, including   but not limited to
                                                                         not limited  to any
                                                                                          any computer-readable
                                                                                              computer-readable
memory
memory andand any
               any computer
                    computer hardware
                               hardware or or software
                                              software necessary
                                                        necessary toto process such memory
                                                                       process such   memory ("Books    and Records").
                                                                                                ("Books and  Records").




                                                       PAGE 2 OF 2                                         2009-265-7986-8
                                                                                                                  Exhibit D
                                                                                                                Page 2 of 7
         Case 4:21-cv-05095-SAB                                        ECF No. 1-4                      filed 06/21/21                      PageID.62 Page 3 of 7




UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
 A. NAME & PHONE OF CONTACT AT FILER (optional)
     Lien Solutions800-331-3282                                                                                 Date of Filing : 09/04/2018
B. E-MAIL CONTACT AT FILER (optional)
                                                                                                                Time of Filing : 08:31:00 AM
     uccfilingreturn@wolterskluwer.com
     ueefilingreturn@wolterskluwer.com                                                                          File Number : 2018-247-0639-4
                                                                                                                Lapse Date : 09/04/2023
 C. SEND ACKNOWLEDGMENT TO: (Name and Address)

    Lien Solutions
   'Tien
    P.O. Box 29071
    Glendale, CA 91209-9071
    USA
  L                                                                                                                        THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
   DEBTOR'S NAME: Provide only one Debtor name (la
1. DEBTORS                                     (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                    Debtor’s name); if any part of the Individual Debtor's
                                                                                                                                                                                  Debtor’s
   name will not fit in line lb,
                             1b, leave all of item 1 blank, check here n     and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

     1a. ORGANIZATION'S NAME
     Easterday Farms Produce, Co.
OR
     1b.
     1b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


lc. MAILING ADDRESS
1c.                                                                                        CITY                                                  STATE     POSTAL CODE                   COUNTRY
 1427 N. 1st Avenue                                                                         Pasco                                                WA 99302                                 USA
   DEBTOR'S NAME:
2. DEBTORS  NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                    Debtor’s name); if any part of the Individual Debtor's
                                                                                                                                                                                  Debtor’s
   name will not fit in line 2b, leave all of item 2 blank, check here n     and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

     2a. ORGANIZATION'S NAME
     3E Properties
OR
     2b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX


2c. MAILING ADDRESS                                                                        CITY                                                  STATE     POSTAL CODE                    COUNTRY
 1427 N 1st Avenue                                                                          Pasco                                                 WA 99302                                USA
3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured Party name (3a or 3b)
     3a. ORGANIZATION'S NAME
     Rabo AgriFinance LLC
OR
     3b. INDIVIDUAL'S SURNAME                                                              FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


3c. MAILING ADDRESS                                                                        CITY                                                  STATE     POSTAL CODE                    COUNTRY
 P.O. Box 411995                                                                            St. Louis                                            MO 63141                                 USA
4. COLLATERAL: This financing statement covers the following collateral:

 All Assets




5. Check only if applicable and check only one box: Collateral is O        held in a Trust (see UCC1Ad, item 17 and Instructions)    O   being administered by a Decedent's
                                                                                                                                                                 Decedent’s Personal Representative
6a. Check only if applicable and check only one box:                                                                                     6b. Check only if applicable and check only one box:
        Public-Finance Transaction               Manufactured-Home Transaction                  A Debtor is a Transmitting Utility                 Agricultural Lien         Non-UCC Filing

7. ALTERNATIVE DESIGNATION (if applicable):           0    Lessee/Lessor            0    Consignee/Consignor           0     Seller/Buyer         0    Bailee/Bailor        0    Licensee/Licensor

8. OPTIONAL FILER REFERENCE DATA:
 WA-0-66329428-55781798

FILING OFFICE COPY -— UCC FINANCING STATEMENT (Form IWASW.1)4/60g
                                                    UCC1) (Rev. 04/20/11)                                                                   International
                                                                                                                                            International Association of Commercial Administrators (IACA)

                                                                                        PAGE 1 OF 5                                                                          2018-247-0839-4
                                                                                                                                                                                       Exhibit D
                                                                                                                                                                                       Exhibit D
                                                                                                                                                                                     Page 3
                                                                                                                                                                                     Page   of 7
                                                                                                                                                                                          3 of 7
         Case 4:21-cv-05095-SAB                                      ECF No. 1-4                     filed 06/21/21           PageID.63 Page 4 of 7




UCC FINANCING STATEMENT ADDITIONAL PARTY
FOLLOW INSTRUCTIONS

18. NAME OF FIRST DEBTOR: Same as line la          1a or lb
                                                         1b on Financing Statement; if line lb
                                                                                            1b was left blank
                                                                                                                Date of Filing : 09/04/2018
    because Individual Debtor name did not fit, check here  0
                                                                                                                Time of Filing : 08:31:00 AM
      18a. ORGANIZATION'S NAME
                                                                                                                File Number : 2018-247-0639-4
      Easterday Farms Produce, Co.
                                                                                                                Lapse Date      : 09/04/2023

OR
      18b. INDIVIDUAL'S SURNAME


         FIRST PERSONAL NAME


         ADDITIONAL NAME(S)/INITIAL(S)                                                               SUFFIX

                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
19. ADDITIONAL      DEBTOR'S NAME:
                    DEBTORS  NAME : Provide only one Debtor name (19a or 19b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                                        Debtor’s name)
      19a. ORGANIZATION'S NAME


OR
      19b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX

      Easterday                                                                         Cody                                       Allen
19c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY

830 Bellflower Road                                                                     Mesa                                       WA 99343                                 USA
20. ADDITIONAL       DEBTOR'S NAME
                     DEBTORS  NAME:: Provide only one Debtor name (20a or 20b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                                         Debtor’s name)
      20a. ORGANIZATION'S NAME


OR
      20b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX

      Easterday                                                                         Cody
20c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY

 830 Bellflower Road                                                                    Mesa                                        WA 99343                                USA
21. ADDITIONAL       DEBTOR'S NAME
                     DEBTORS  NAME:: Provide only one Debtor name (21a or 2 b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                          21b)                                                                           Debtor’s name)
      21a. ORGANIZATION'S NAME


OR
      21b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX

      Easterday                                                                         Jody                                        Dee
21c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY

 7915 W. Dradie St.                                                                     Pasco                                       WA 99301                                USA
22.      ADDITIONAL      SECURED PARTY'S NAME or                          ASSIGNOR SECURED PARTY'S NAME: Provide only one name (22a or 22b)
      22a. ORGANIZATION'S NAME


OR
      22b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


22c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY



23.      ADDITIONAL      SECURED PARTY'S NAME or                          ASSIGNOR SECURED PARTY'S NAME: Provide only one name (23a or 23b)
      23a. ORGANIZATION'S NAME


OR
      23b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


23c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY



24. MISCELLANEOUS:




FILING OFFICE COPY -— UCC FINANCING STATEMENT ADDITIONAL PARTY (Form UCC1AP) (Rev. 08/22/11)
                                                                                   PAGE 2 OF 5                                Ixterkatiokal
                                                                                                                              International Axwwialiox
                                                                                                                                            Association of
                                                                                                                                                        of Comme201844700163944
                                                                                                                                                           Commercial Administrators (IACA)


                                                                                                                                                                         Exhibit D
                                                                                                                                                                       Page 4 of 7
         Case 4:21-cv-05095-SAB                                      ECF No. 1-4                     filed 06/21/21           PageID.64 Page 5 of 7




UCC FINANCING STATEMENT ADDITIONAL PARTY
FOLLOW INSTRUCTIONS

18. NAME OF FIRST DEBTOR: Same as line la          1a or lb
                                                         1b on Financing Statement; if line lb
                                                                                            1b was left blank
                                                                                                                Date of Filing : 09/04/2018
    because Individual Debtor name did not fit, check here  0
                                                                                                                Time of Filing : 08:31:00 AM
      18a. ORGANIZATION'S NAME
                                                                                                                File Number : 2018-247-0639-4
      Easterday Farms Produce, Co.
                                                                                                                Lapse Date      : 09/04/2023

OR
      18b. INDIVIDUAL'S SURNAME


         FIRST PERSONAL NAME


         ADDITIONAL NAME(S)/INITIAL(S)                                                               SUFFIX

                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
19. ADDITIONAL      DEBTOR'S NAME:
                    DEBTORS  NAME : Provide only one Debtor name (19a or 19b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                                        Debtor’s name)
      19a. ORGANIZATION'S NAME


OR
      19b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX

      Easterday                                                                         Jody
19c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY

7915 W. Dradie St.                                                                      Pasco                                      WA 99301                                 USA
20. ADDITIONAL       DEBTOR'S NAME
                     DEBTORS  NAME:: Provide only one Debtor name (20a or 20b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                                         Debtor’s name)
      20a. ORGANIZATION'S NAME


OR
      20b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX

      Easterday                                                                         Gale                                        Allen
20c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY
 631 Bellflower Road                                                                    Mesa                                        WA 99343                                USA
21. ADDITIONAL       DEBTOR'S NAME
                     DEBTORS  NAME:: Provide only one Debtor name (21a or 2 b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                          21b)                                                                           Debtor’s name)
      21a. ORGANIZATION'S NAME


OR
      21b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX

      Easterday                                                                         Gale
21c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY

 631 Bellflower Road                                                                    Mesa                                        WA 99343                                USA
22.      ADDITIONAL      SECURED PARTY'S NAME or                          ASSIGNOR SECURED PARTY'S NAME: Provide only one name (22a or 22b)
      22a. ORGANIZATION'S NAME


OR
      22b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


22c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY



23.      ADDITIONAL      SECURED PARTY'S NAME or                          ASSIGNOR SECURED PARTY'S NAME: Provide only one name (23a or 23b)
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OR
      23b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


23c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY



24. MISCELLANEOUS:




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                                                                                   PAGE 3 OF 5                                Ixterkatiokal
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                                                                                                                                            Association of
                                                                                                                                                        of Comme201844700163944
                                                                                                                                                           Commercial Administrators (IACA)


                                                                                                                                                                         Exhibit D
                                                                                                                                                                       Page 5 of 7
         Case 4:21-cv-05095-SAB                                      ECF No. 1-4                     filed 06/21/21           PageID.65 Page 6 of 7




UCC FINANCING STATEMENT ADDITIONAL PARTY
FOLLOW INSTRUCTIONS

18. NAME OF FIRST DEBTOR: Same as line la          1a or lb
                                                         1b on Financing Statement; if line lb
                                                                                            1b was left blank
                                                                                                                Date of Filing : 09/04/2018
    because Individual Debtor name did not fit, check here  0
                                                                                                                Time of Filing : 08:31:00 AM
      18a. ORGANIZATION'S NAME
                                                                                                                File Number : 2018-247-0639-4
      Easterday Farms Produce, Co.
                                                                                                                Lapse Date      : 09/04/2023

OR
      18b. INDIVIDUAL'S SURNAME


         FIRST PERSONAL NAME


         ADDITIONAL NAME(S)/INITIAL(S)                                                               SUFFIX

                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
19. ADDITIONAL      DEBTOR'S NAME:
                    DEBTORS  NAME : Provide only one Debtor name (19a or 19b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                                        Debtor’s name)
      19a. ORGANIZATION'S NAME


OR
      19b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX

      Easterday                                                                         Debby
19c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY

830 Bellflower Road                                                                     Mesa                                       WA 99343                                 USA
20. ADDITIONAL       DEBTOR'S NAME
                     DEBTORS  NAME:: Provide only one Debtor name (20a or 20b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                                         Debtor’s name)
      20a. ORGANIZATION'S NAME


OR
      20b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX

      Easterday                                                                         Karen                                       Louise
20c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY
 631 Bellflower Road                                                                    Mesa                                        WA 99343                                USA
21. ADDITIONAL       DEBTOR'S NAME
                     DEBTORS  NAME:: Provide only one Debtor name (21a or 2 b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                          21b)                                                                           Debtor’s name)
      21a. ORGANIZATION'S NAME


OR
      21b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX

      Easterday                                                                         Karen
21c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY

 631 Bellflower Road                                                                    Mesa                                        WA 99343                                USA
22.      ADDITIONAL      SECURED PARTY'S NAME or                          ASSIGNOR SECURED PARTY'S NAME: Provide only one name (22a or 22b)
      22a. ORGANIZATION'S NAME


OR
      22b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


22c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY



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      23a. ORGANIZATION'S NAME


OR
      23b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


23c. MAILING ADDRESS                                                                   CITY                                        STATE     POSTAL CODE                   COUNTRY



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                                                                                                                                            Association of
                                                                                                                                                        of Comme201844700163944
                                                                                                                                                           Commercial Administrators (IACA)


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           Case 4:21-cv-05095-SAB                                    ECF No. 1-4                     filed 06/21/21                   PageID.66 Page 7 of 7




UCC FINANCING STATEMENT ADDITIONAL PARTY
FOLLOW INSTRUCTIONS

18. NAME OF FIRST DEBTOR: Same as line la
                                       1a or lb
                                             1b on Financing Statement; if line lb
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                                                                                                                       File Number : 2018-247-0639-4
       Easterday Farms Produce, Co.
                                                                                                                       Lapse Date      : 09/04/2023

OR
       18b. INDIVIDUAL'S SURNAME


          FIRST PERSONAL NAME


           ADDITIONAL NAME(S)/INITIAL(S)                                                             SUFFIX

                                                                                                                          THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
19. ADDITIONAL        DEBTOR'S NAME:
                               NAME :          Provide only one Debtor name (19a or 19b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                                                   Debtor’s name)
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OR
      19b. INDIVIDUAL'S SURNAME                                                         FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX

       Wills                                                                            Andrew                                             H
19c. MAILING ADDRESS                                                                    CITY                                               STATE      POSTAL CODE                   COUNTRY
7915 W. Dradie St.                                                                      Pasco                                              WA 99301                                 USA
20. ADDITIONAL        DEBTOR'S NAME:
                               NAME :          Provide only one Debtor name (20a or 20b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
                                                                                                                                                                   Debtor’s name)
       20a. ORGANIZATION'S NAME


OR
       20b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX

       Wills                                                                            Andrew
20c. MAILING ADDRESS                                                                    CITY                                               STATE      POSTAL CODE                   COUNTRY

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21. ADDITIONAL        DEBTOR'S NAME:
                      DEBTORS  NAME:           Provide only one Debtor name (21a or 21b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's
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OR
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21c. MAILING ADDRESS                                                                    CITY                                               STATE      POSTAL CODE                   COUNTRY



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22c. MAILING ADDRESS                                                                    CITY                                               STATE      POSTAL CODE                   COUNTRY



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                                                                                    PAGE 5 OF 5                                       International Association of
                                                                                                                                                                of Comme20141124746a9,4
                                                                                                                                                                   Commercial Administrators (IACA)


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